                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 MAY SISK,                                        )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )    NO. 3:21-cv-00351
                                                  )
 TRI STAR ENERGY LLC,                             )
                                                  )
        Defendant.                                )

                                             ORDER

       Plaintiff’s Application for Leave to Proceed In Forma Pauperis (Doc. No. 4) is

GRANTED.

       This case is REFERRED to the Magistrate Judge for customized case management in

accordance with Local Rule 16.01 and 28 U.S.C. § 636(b)(1)(A). Lead counsel for the parties shall

attend the initial case management conference.

       The parties shall be prepared to engage in a discussion with the Magistrate Judge of the

substantive factual and legal issues presented, either on or off the record as the Magistrate Judge

determines, such that the parties and the Magistrate Judge can have a realistic discussion of the

progression of this case and possible issues preventing settlement. The parties shall include a plan

for resolution of the case that includes at least two independent attempts to resolve the case that

must be approved by the Magistrate Judge. The first attempt shall occur within 120 days of the

initial case management conference and the second attempt shall occur before the deadline for

filing dispositive motions. The parties are encouraged to consider the Alternative Dispute

Resolution options provided in Local Rule 16.02 through 16.05.




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       This case shall be set for trial upon completion of the initial case management conference

by order of the Court in accordance with the procedures of Local Rule 16.01(h).

       IT IS SO ORDERED.


                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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